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                      Exhibit A
                Corporate Resolutions
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                              ALL BLUE INVESTMENT MANAGEMENT LTD

                                       BVI Company No. 2135280

                                            (the "Company")


    WRITTEN RESOLUTIONS OF ALL OF THE MEMBERS OF THE COMPANY IN ACCORDANCE
        WITH THE MEMORANDUM AND ARTICLES OF ASSOCIATION OF THE COMPANY




The undersigned, being all of the members of the Company and having the right to receive notice of, attend
and vote at general meetings, and notice of these resolutions having been given to the BVI Financial
Services Commission in accordance with section 159(5) of the Insolvency Act 2004 (as amended) hereby
RESOLVE THAT Nathan Mills of R&H Restructuring (BVI) Ltd of Little Denmark Building, Unit 3A, 147 Main
Street, British Virgin Islands and Martin Trott of R&H Restructuring (Cayman) of Ltd, Windward 1, Regatta
Office Park, PO Box 897, Grand Cayman, KY1-1103, Cayman Islands each having consented in writing to
their appointment as a joint liquidator of the Company, be and are hereby appointed as joint liquidators of
the Company (the "Joint Liquidators").




Mr Daniel Edward Llewellen Cookson

DATE:     27     March 2024




Mr Matthew Holden Novak

DATE:      27 March 2024




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                     Exhibit B
                Rule 1007(a)(4) List
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov
    In re:                                                           Chapter 15

    ALL BLUE INVESTMENTS NORTH STAR 1                                Case No.: 24-_____ (___)
    LTD, et al.,1
                                                                     (Joint Administration Requested)
                    Debtors in a Foreign Proceeding.


                              LIST PURSUANT TO RULE 1007(a)(4) OF THE
                            FEDERAL RULES OF BANKRUPTCY PROCEDURE

              Martin Trott and Nathan Mills, in their capacities as duly appointed joint liquidators and

foreign representatives (the “Liquidators” or “Foreign Representatives”) of All Blue

Investments North Star 1 Ltd. (in Liquidation) (“NS1”) and All Blue Investment Management Ltd.

(in Liquidation) (“ABIM” and, together with NS1, the “Foreign Debtors”) under sections 159

and 175 of the Insolvency Act 2004 (as amended) (the “Insolvency Act”), in official liquidation

proceedings pending in the British Virgin Islands (the “BVI Proceedings”), by their undersigned

counsel, hereby make the following statements required by section 1515(c) of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 1007(a)(4) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”):

     I.       Statement required by section 1515(c) of the Bankruptcy Code

              The Foreign Representatives are duly appointed joint liquidators of the Foreign Debtors

under section 159(5) of the Insolvency Act. The Liquidators believe that, other than the BVI

Proceedings, there are no foreign proceedings pending with respect to the Foreign Debtors.



1
          The Foreign Debtors in these chapter 15 cases, along with the last four digits of each Foreign Debtor’s federal tax
          identification number, are: All Blue Investments North Star 1 Ltd. (3076); and All Blue Investment Management
          Ltd. (5280). The Foreign Debtors’ address for the purpose of this chapter 15 case is: c/o R&H Restructuring
          (BVI) Ltd., Little Denmark Building, Unit 3a, 147 Main Street, PO Box 3162, Road Town, Tortola, British Virgin
          Islands, VG1110.
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       The Foreign Representatives’ mailing addresses are:

       Martin Nicholas John Trott
       R&H Restructuring (Cayman) Ltd.
       Windward 1, Regatta Office Park, Grand Cayman
       PO Box 897, KY1-1103, Cayman Islands

       and

       Nathan Mills
       R&H Restructuring (BVI) Ltd.
       Little Denmark Building, Unit 3a, 147 Main Street
       PO Box 3162, Road Town, Tortola, British Virgin Islands, VG1110

 II.   All parties to litigation pending in the United States in which a Foreign Debtor is a
       party at the time of filing of the chapter 15 petitions

       The Foreign Representatives believe that the Foreign Debtors are not party to any litigation

pending in the United States.

III.   Entities against whom provisional relief is sought under section 1519 of the
       Bankruptcy Code

       The Foreign Representatives do not seek provisional relief.

IV.    Corporate ownership statement under rules 1007(a) and 7007 of the Federal Rules
       of Bankruptcy Procedure

       Under Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the Foreign

Representatives submit the following list of entities that hold ownership interests in the Foreign

Debtors:

       A. All Blue Investments North Star 1 Ltd.

       NS1 was incorporated as a Business Company in the BVI on March 4, 2022 under BVI

Company No. 2093076. All Blue Investments (DIFC) Ltd., a company registered in the Dubai

International Financial Centre, holds 100% of the shares in NS1.




                                                2
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      B. All Blue Investment Management Ltd.

      ABIM was incorporated as a Business Company in the BVI on November 1, 2023 under

BVI Company No. 2135280. Messrs. Daniel Cookson and Matthew Novak each hold 50% of the

shares in ABIM.



                           [Remainder of page intentionally left blank]




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                        Exhibit C
                        Form 202
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